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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                  MARTINSBURG

 UNITED STATES OF AMERICA,

                Plaintiff,
 v.                                                   Criminal Action No. 3:12CR34

 STEVEN A. CRITES and
 GEORGE VANWAGNER,


                Defendants.


           MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION ON
              DEFENDANT VANWAGNER’S MOTION FOR RELIEF FROM
                                 PREJUDICIAL JOINDER[62]


        On February 18, 2013, the Defendant George VanWagner, through his counsel Barry P.

 Beck, Esquire, filed a Motion for Relief From Prejudicial Joinder, seeking to sever the

 Defendants’ trials [ECF. No. 62]. On March 7, 2013, the Government, through Paul T.

 Camilletti, Assistant United States Attorney, filed the United States’ Response to Defendant’s

 Motion for Relief from Prejudicial Joinder [ECF No. 67].

        The undersigned submits this Report and Recommendation upon consideration of the

 memoranda filed herein, the facts of the case and the applicable law without a hearing.

        Defendant VanWagner states in his motion that the defendants are charged with

 conspiracy to commit bank fraud and individual counts of aiding and abetting each other to

 commit bank fraud. Defendant further states that the charges in this case are related to several

 real estate and loan transactions that the defendants were involved in during the course of their


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 former commercial and residential real estate development businesses. The problem the

 defendant anticipates in trying these cases together is that the Government has several statements

 from Defendant Crites incriminating Defendant VanWagner. Defendant argues that in a joint

 trial the admission of these statement may violate Defendant Van Wagner’s sixth amendment

 right to confrontation. Crawford v. Washington, 541 U.S. 36 (2004); Bruton v. United States,

 391 U.S. 123, 88 S.Ct. 1620 (1968); United States v. Truslow, 530 F.2d 257 (4th Cir. 1974.)

 Defendant argues that when an alleged statement by a co-defendant is sought to be used in a

 joint trial, the court must determine how the statement is intended to be used and what remedial

 steps are required to protect the other defendant’s right to confrontation. Id. The court may

 exclude the statement at a joint trial, redact the statement so as to delete any reference to the

 other defendant, or grant a severance of the other defendant. Id.

        The United States responded that the Bruton case holds that the Confrontation Clause of

 the Sixth Amendment is violated-and severance required- when a non-testifying co-defendant’s

 confession naming the defendant as a participant in the crime is admitted, even if the jury is

 instructed to consider the confession only against the co-defendant. Bruton v. United States, 391

 U.S. 123, 88 S.Ct. 1620 (1968). The Government argues that it is too early to address this issue,

 as there may not be two defendants at trial. Additionally, the United States argued sufficient

 redactions may be accomplished so that a defendant’s statement implicating its maker may be

 offered into evidence without implicating the remaining defendant.

        The undersigned finds that the Defendant has failed to show any actual prejudice or

 conflict at this time and therefore recommends the motion be denied as premature.




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                                      RECOMMENDATION

          Therefore, for the above stated reasons, the undersigned recommends that Defendant

 VanWagner’s Motion for Relief rom Prejudicial Joinder (Document No. 62) be DENIED as

 premature and the Defendant be granted leave to refile the motion should a specific conflict

 arise.

          Any party may file, within ten (14) days after being served with a copy of this

 Recommendation, with the Clerk of the Court, written objections identifying the portions of the

 Recommendation to which objections are made, and the basis for such objections. A copy of

 such objections should also be submitted to the Honorable Gina M. Groh, United States District

 Judge. Failure to timely file objections to this Report and Recommendation will result in waiver

 of the right to appeal from a judgment of the District Court based upon this Report and

 Recommendation. 28 U.S.C. § 636(b)(1).

          The Court directs the Clerk of the Court to provide a copy of this Report and

 Recommendation to all counsel of record, as provided in the Administrative Procedures for

 Electronic Case Filing in the United States District Court for the Northern District of West

 Virginia.

          DATED this 13th day of March 2013




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